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Narrative Review: The Promotion of Gabapentin: An Analysis of Internal Industry Docu... Page | of 20

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Gabapentin: An Analysis of Internal + Airc of eat
Industry Documents * (PDFs free after 6 months)

» Figures/Tables List
+ Michael A. Steinman, MD; Lisa A. Bero, PhD; Mary-Margaret Chren, MD; and —,_ Related articles in Annals
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15 August 2006 | Volume 146 Issue 4 | Pages 284-293 » course

s Services
Background: intemal documents from the pharmaceutical industry provide a . Send comment/rapid response
letter
unique window for understanding the structure and methods of pharmaceutical Dubitshed comments/rapid
promotion. Such documents have become available through litigation * response letters
concerning the promotion of gabapentin (Neurontin, Pfizer, Inc., New York, New Notify a friend about this
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Purpose: To describe how gabapentin was promoted, focusing on the use of
medical education, research, and publication.

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Data Sources: Court documents available to the public from United States ex,» ACP Search

rel David Franklin vs. Pfizer, inc., and Parke-Davis, Division of Wamer-Lambert a» PubMed

Company, mostly from 1994-1996. Articles In PubMed by Author:

» Stel LMA.
Data Extraction: All documents were reviewed by 1 author, with selected netnman

review by coauthors. Marketing strategies and tactics were identified by using an > Landefeld, C. S.
iterative process of review, discussion, and re-review of selected documents. » Related Articles in PubMed

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Data Synthesis: The promotion of gabapentin was a comprehensive and » PubMed
multifaceted process. Advisory boards, consultants meetings, and accredited

continuing medical education events organized by third-party vendors were used to deliver promotional
messages. These tactics were augmented by the recruitment of local champions and engagement of thought
leaders, who could be used to communicate favorable messages about gabapentin to their physician colleagues.
Research and scholarship were also used for marketing by encouraging “key customers" to participate in
research, using a large study to advance promotional themes and build market share, paying medical
communication companies to develop and publish articles about gabapentin for the medical literature, and
planning to suppress unfavorable study results. _

Limitations: Most available documents were submitted by the plaintiff and may not represent a complete picture
of marketing practices.

Conclusion: Activities traditionally considered independent of promotional intent, including continuing medical

education and research, were extensively used to promote gabapentin. New strategies are needed to ensure a
clear separation between scientific and commercial activity.

 
